The plaintiff in error, Bill Bragg, was convicted in the county court of Pontotoc county upon an information charging the unlawful possession of certain intoxicating liquors, to wit, 23 gallons of Choctaw beer, with the unlawful intention to sell or otherwise dispose *Page 394 
of the same. On the 5th day of October, 1915, by the judgment of the court he was sentenced to be confined in the county jail for a period of 90 days and that he pay a fine of $100 and the costs. From the judgment he appeals.
The evidence for the state shows that Sheriff Duncan, with two deputies, went to the defendant's tent, located in a pasture southwest of the Frisco depot at Roff, and one of the deputies went into the tent and asked the defendant if he could buy some "Choc;" that the defendant said he was afraid he was trying to trap him, but finally decided to sell some, and asked him whether he wanted it hot or cold, the hot being in the tent, and the cold in the ice box; that thereupon the officers took charge and found some Choctaw beer in the ice box with 50 or 60 pounds of ice, and found 16 gallons of Choctaw beer in the tent. They testified that it was a beverage made out of malt and hops, and that it was intoxicating. The sheriff further testified that he drank some of it; that it was strong with alcohol; that he had drunk Budweiser and Pabst, but this Choctaw beer was the strongest beer he had ever drunk. The testimony of Whitson and Chandler, the deputy sheriffs, was substantially to the same effect.
As a witness in his own behalf the defendant testified that he, with others, made the stuff for their own use, but did not sell it, and did not intend to sell it.
The errors assigned are insufficiency of the evidence to sustain the verdict, error in the instructions given, and error in refusing requested instructions.
It is a sufficient answer to the contentions made to say that the evidence is ample to support the verdict. The instructions *Page 395 
fully and fairly cover the law of the case, and the instructions requested were properly refused. Having examined the record, and finding no substantial error therein, and believing that a fair and impartial trial was had, the judgment of the county court of Pontotoc county is affirmed.